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THE HONORABLE JOHN C. COUGHENOUR

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
STATE OF WASHINGTON, ef al., CASE NO. C25-0127-JCC
Plaintiffs, TEMPORARY
RESTRAINING ORDER
v.
DONALD TRUMP, et al.,

Defendants.

I INTRODUCTION

This matter comes before the Court on the emergency Motion for a Temporary Restraining
Order filed by the States of Washington, Arizona, Illinois, and Oregon (Plaintiff States) (Dkt. No.
10). The Plaintiff States challenge an Executive Order issued January 20, 2025, by President
Trump, entitled “Protecting the Meaning and Value of American Citizenship.” Having considered
the motion, Defendants’ response, if any, and the argument of the parties, if any, the Court
GRANTS the Plaintiff States’ emergency motion for a 14-day Temporary Restraining Order
effective at 11:00 AM on January 23, 2025. The Court enters the following findings of fact and
conclusions of law.

I. FINDINGS OF FACTS
1. Plaintiff States face irreparable injury as a result of the signing and implementation

of the Executive Order. The Order harms the Plaintiff States directly by forcing state agencies to

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lose federal funding and incur substantial costs to provide essential and legally required medical
care and social services to resident children subject to the Order. Plaintiff States’ residents are also
irreparably harmed by depriving them of their constitutional right to citizenship and all the
associated rights and benefits, including: subjecting them to risk of deportation and family
separation; depriving them of access to federal funding for medical care and eligibility for basic
public benefits that prevent child poverty and promote child health; and impacting their education,
employment, and health.

2. These harms are immediate, ongoing, and significant, and cannot be remedied in
the ordinary course of litigation.

3. A temporary restraining order against Defendants, as provided below, is necessary
until the Court can consider Plaintiff States’ forthcoming motion for a preliminary injunction.

Il. CONCLUSIONS OF LAW

1. The Court has jurisdiction over Defendants and the subject matter of this action.

2. Plaintiffs’ efforts to contact Defendants reasonably and substantially complied with
the requirements of Federal Rule of Civil Procedure 65(b) and Local Civil Rule 65(b).

3. The Court deems no security bond is required under Rule 65(c).

4. Plaintiffs have standing to bring this suit. Plaintiffs have made a sufficient showing
of concrete and imminent economic injury. If Plaintiffs cannot treat birthright citizens as precisely
that—citizens—then they will lose out on federal funds for which they are otherwise currently
eligible. Department of Commerce v. New York, 588 U.S. 752, 767 (2019). That is a sufficiently
concrete and imminent injury to satisfy Article III standing. /d. Plaintiffs also have standing to
challenge the Order because of the new and ongoing operational costs they allege. City and Cnty.
of San Francisco v. United States Citizenship and Immigration Servs., 944 F.3d 773, 787-88 (9th
Cir. 2019).

5. To obtain a temporary restraining order, the Plaintiff States must establish (1) they

are likely to succeed on the merits; (2) irreparable harm is likely in the absence of preliminary

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relief: (3) the balance of equities tips in the Plaintiffs’ favor; and (4) an injunction is in the public
interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); Fed. R. Civ. P. 65(b)(1).

6. There is a strong likelihood that Plaintiffs will succeed on the merits of their claims
that the Executive Order violates the Fourteenth Amendment and Immigration and Nationality
Act. See United States v. Wong Kim Ark, 169 U.S. 649, 694-99 (1898); Regan v. King, 49 F. Supp.
222, 223 (N.D. Cal. 1942), aff'd, 134 F.2d 413 (9th Cir. 1943), cert denied, 319 U.S. 753 (1943);
see also Gee v. United States, 49 F. 146, 148 (9th Cir. 1892).

7. The Plaintiff States have also shown that they are likely to suffer irreparable harm
in the absence of preliminary relief. The Executive Order will directly impact Plaintiff States,
immediately increasing unrecoverable costs for providing essential medical care and social
services to States’s residents and creating substantial administrative burdens for state agencies that
are forced to comply with the Order. (See, e.g., Dkt. Nos. 14 at 12; 15 at 9; 25 at 5; 26 at 4, 6.)
Moreover, the Plaintiff States will suffer immediate repercussions of the Order’s mandates as
described in its enforcement Section 3(a), (b).

8. The balance of equities tips toward the Plaintiff States and the public interest
strongly weighs in favor of entering temporary relief.

IV. TEMPORARY RESTRAINING ORDER

Now, therefore, it is hereby ORDERED that:

1. Defendants and all their respective officers, agents, servants, employees and
attorneys, and any person in active concert or participation with them who receive actual notice of
this order are hereby fully enjoined from the following:

a. Enforcing or implementing Section 2(a) of the Executive Order;
b. Enforcing or implementing Section 3(a) of the Executive Order; or
c. Enforcing or implementing Section 3(b) of the Executive Order.

2. This injunction remains in effect pending further orders from this Court.

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Dated this “Hour of this ) S day of January 2025.

C. Coughenour
UNITED STATES DISTRICT JUDGE

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